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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

             Plaintiff,

 v.                                            Criminal Action No. 5:05CR13
                                                                    (STAMP)
 MICHAEL ANTHONY JOHNSON,

             Defendant.


                       MEMORANDUM OPINION AND ORDER
                    MEMORIALIZING PROUNOUNCED RULING
                      DENYING MOTION FOR NEW COUNSEL

       This order memorializes a pronounced ruling made from the

 bench denying the motion for new counsel of defendant, Michael

 Anthony Johnson (“Johnson”).        Johnson is named as one of nine co-

 defendants in a 20-count indictment for the conspiracy to possess

 and distribute crack and powder cocaine.            Eight of the nine co-

 defendants in this criminal action have reached an agreement with

 the government by which they have or intend to plead guilty to one

 or more counts listed in the indictment.

       On August 22, 2005, the defendant in the above-styled criminal

 action, by his counsel, L. Richard Walker (“Walker”), filed a

 motion for new counsel.       In support of his motion, the defendant

 listed   the    following   reasons:    (1)    counsel   does   not   possess

 sufficient experience to handle matter effectively; (2) counsel has

 not satisfactorily negotiated a plea agreement; (3) counsel is not

 aggressive enough; and (4) defendant is uncomfortable proceeding

 with counsel.     At the hearing, the defendant’s counsel articulated

 the defendant’s reasons for moving for new counsel.              This Court
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 further provided Johnson, himself, with the opportunity to speak on

 behalf of his motion, and he agreed that his counsel had properly

 characterized the basis for this motion.

       Assistant    United    States   Attorney    John      C.   Parr   (“Parr”)

 responded that the defendant had been cooperative as an informant

 and had participated in multiple controlled buys.                However, Parr

 argued that the defendant had an extensive criminal record and had

 at least 83 grams of cocaine or cocaine base attributable to him.

 As a result, Parr indicated that he was unwilling to recommend a

 flat sentence of less than 15 years.             Parr further stated that

 Walker   had   successfully     negotiated    for     his   client      the   most

 favorable recommendation that the government would make.                       In

 addition, Parr noted that, following discussions with Walker, the

 government had agreed to make a motion on behalf of Johnson

 pursuant to United States Sentencing Guidelines § 5K1.1.                      The

 proposed plea agreement also would contain a provision whereby the

 defendant    Johnson   would    receive   a   three    level     reduction    for

 acceptance of responsibility pursuant to U.S.S.G. § 3E1.1.

       When evaluating a defendant’s motion for new counsel, a trial

 court must (1) consider the timeliness of the motion, (2) inquire

 thoroughly into factual basis of defendant’s dissatisfaction, and

 (3) consider the extent of the breakdown in communication between

 the defendant and his counsel.         United States v. Mullen, 32 F.3d

 891, 895-897 (1994).        This Court addresses these factors in turn.




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        First, the defendant’s motion has a timeliness problem.                       As

 AUSA Parr indicated, investigation for this case began back in

 August of 2004.      Walker has been representing the defendant since

 Walker was appointed on October 6, 2004.                  The indictment in this

 criminal action was filed on April 5, 2005.                    Johnson’s trial date

 has already been continued once, and is currently set to commence

 on September 7, 2005.         Given the fact that the criminal action has

 been pending for a substantial period of time, as well as the

 continuous representation of the defendant by Walker, this Court

 finds the motion is not timely filed.

        Second, even if the motion were timely, the factual basis of

 defendant’s dissatisfaction is insufficient to support his motion.

 The    defendant’s     argument      that       his   counsel      does   not   possess

 sufficient experience to handle this matter effectively is simply

 unfounded.     Walker has been an Assistant Federal Public Defender

 for the Northern District of West Virginia for several years and

 has appeared before this Court regularly.                 Prior to serving in the

 Northern    District     of    West    Virginia,         Walker     had   significant

 experience as a defense attorney in Florida.                         This Court has

 observed    Walker     on   numerous        occasions         in   pretrial     matters,

 sentencing matters, and in criminal trials, some of which have

 involved complicated issues.           Without going into greater detail,

 this   Court   finds    that    in    each      of    these    matters,    Walker   has

 performed with competence.           In the past, where there has been the

 possibility that a defense existed, Walker has done everything in



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 his power to assert that defense zealously.             Accordingly, this

 Court believes Walker has substantial experience, and finds the

 defendant’s contention to be without merit.

       Similarly,     defendant’s     argument    that    Walker    has   not

 satisfactorily negotiated a plea agreement appears to be unfounded.

 The United States has indicated that Walker has been actively

 involved in the plea negotiating process since commencing he

 representation of Johnson.         Under Walker’s representation, the

 government has shown its willingness to move for a § 5K1.1 motion

 for substantial assistance to authorities.              While this motion

 ultimately falls within the government’s discretion, it appears

 from AUSA Parr’s representations to this Court that Walker has been

 deeply involved in negotiating for the substantial assistance

 motion. Moreover, it appears from AUSA Parr’s representations that

 negotiations have also resulted in a proposal that the defendant

 receive an acceptance of responsibility reduction of at least two

 levels, and possibly three levels, in the proposed plea agreement

 for Johnson.    Accordingly, this Court finds that the defendant has

 failed to show that negotiations by Walker have been insufficient.

       Defendant’s final contentions -- that counsel has not been

 aggressive enough and that defendant is uncomfortable -- are not

 relevant to this Court’s inquiry.           The fact that the defendant

 disapproves of Walker’s style is not an adequate factual basis to

 support a motion for new counsel.         Accordingly, this Court finds




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 that the second factor in Mullen weighs in favor of denying the

 defendant’s motion.

       Finally, this court finds that the defendant and his counsel

 have not suffered a breakdown in communication as contemplated by

 the Fourth Circuit in Mullen.             The Sixth Amendment does not

 guarantee a “meaningful relationship” or good rapport with an

 attorney, but merely requires adequate representation.           See Morris

 v. Slappy, 461 U.S. 1, 13-14 (1983).         There is no indication from

 either the defendant or his counsel that their relationship has

 prevented    adequate    representation.       At   the   hearing,    Walker

 indicated that his relationship with Johnson was cordial, and

 Johnson did not object to this characterization. Accordingly, this

 Court finds that the relationship between the defendant and his

 counsel has not suffered a breakdown in communication.

       In sum, this Court finds that the defendant’s motion for new

 counsel must be DENIED.

       IT IS SO ORDERED.

       The Clerk is directed to transmit a copy of this order by mail

 to the defendant and via facsimile to counsel of record herein, to

 the United States Probation Office and to the United States

 Marshals Service.

       DATED:      August 26, 2005



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE



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